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 1                                              The Honorable Chief Judge David G. Estudillo
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 8                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 9                                   AT TACOMA
10
     PAUL D. ETIENNE, JOSEPH J. TYSON,
11   THOMAS    A.   DALY,  FRANK    R.
     SCHUSTER, EUSEBIO L. ELIZONDO,
12   GARY F. LAZZERONI, GARY M.
     ZENDER,      ROBERT     PEARSON,
13   LUTAKOME       NSUBUGA,     JESÚS               Case No. 3:25-cv-05461-DGE
14   MARISCAL, MICHAEL KELLY,
                                                     DECLARATION OF MATTHEW T.
15                        Plaintiffs,                MARTENS IN SUPPORT OF
                                                     PLAINTIFFS’ MOTION FOR
16          v.                                       PRELIMINARY INJUNCTION

17   ROBERT W. FERGUSON, in his official
18   capacity as Governor of Washington,
     NICHOLAS W. BROWN, in his official
19   capacity     as     Attorney   General    of
     Washington, LEESA MANION, in her
20   official capacity as King County Prosecuting
     Attorney, LARRY HASKELL, in his official
21   capacity as Spokane County Prosecuting
22   Attorney, JOSEPH BRUSIC, in his official
     capacity as Yakima County Prosecuting
23   Attorney, RANDY FLYCKT, in his official
     capacity as Adams County Prosecuting
24   Attorney, CURT LIEDKIE, in his official
     capacity as Asotin County Prosecuting
25
     Attorney, ERIC EISINGER, in his official
26   capacity as Benton County Prosecuting
     Attorney, ROBERT SEALBY, in his official
27   capacity as Chelan County Prosecuting

28   DECLARATION OF M. MARTENS IN SUPPORT OF
     PLAINTIFF’S MOT. FOR PRELIM. INJUNCTION - 1 -
     (No. 3:25-cv-05461-DGE)
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 1   Attorney, MARK NICHOLS, in his official
     capacity as Clallam County Prosecuting
 2   Attorney, TONY GOLIK, in his official
     Capacity as Clark County Prosecuting
 3
     Attorney, DALE SLACK, in his official
 4   capacity as Columbia County Prosecuting
     Attorney, RYAN JURVAKAINEN, in his
 5   official capacity as Cowlitz County
     Prosecuting Attorney, GORDON EDGAR, in
 6   his official capacity as Douglas County
     Prosecuting Attorney, MICHAEL GOLDEN,
 7
     in his official capacity as Ferry County
 8   Prosecuting Attorney, SHAWN SANT, in his
     official capacity as Franklin County
 9   Prosecuting       Attorney,      MATHEW
     NEWBERG, in his official capacity as
10   Garfield County Prosecuting Attorney,
11   KEVIN McCRAE, in his official capacity as
     Grant County Prosecuting Attorney, NORMA
12   TILLOTSON, in her official capacity as Grays
     Harbor County Prosecuting Attorney,
13   GREGORY BANKS, in his official capacity
     as Island County Prosecuting Attorney,
14   JAMES KENNEDY, in his official capacity as
15   Jefferson County Prosecuting Attorney,
     CHAD ENRIGHT, in his official capacity as
16   Kitsap    County    Prosecuting    Attorney,
     GREGORY ZEMPEL, in his official capacity
17   as Kittitas County Prosecuting Attorney,
     DAVID QUESNEL, in his official capacity as
18   Klickitat County Prosecuting Attorney,
19   JONATHAN MEYER, in his official capacity
     as Lewis County Prosecuting Attorney, TY
20   ALBERTSON, in his official capacity as
     Lincoln County Prosecuting Attorney,
21   MICHAEL DORCY, in his official capacity as
     Mason County Prosecuting Attorney,
22
     ALBERT LIN, in his official capacity as
23   Okanogan County Prosecuting Attorney,
     MICHAEL ROTHMAN, in his official
24   capacity as Pacific County Prosecuting
     Attorney, DOLLY HUNT, in her official
25   Capacity as Pend Orielle County Prosecuting
     Attorney, MARY ROBNETT, in her official
26
     capacity as Pierce County Prosecuting
27   Attorney, AMY VIRA, in her official capacity
     as San Juan County Prosecuting Attorney,
28   DECLARATION OF M. MARTENS IN SUPPORT OF
     PLAINTIFF’S MOT. FOR PRELIM. INJUNCTION - 2 -
     (No. 3:25-cv-05461-DGE)
           Case 3:25-cv-05461-DGE        Document 66   Filed 06/05/25   Page 3 of 5




 1   RICH WEYRICH, in his official Capacity as
     Skagit County Prosecuting Attorney, ADAM
 2   KICK, in his official capacity as Skamania
     County Prosecuting Attorney, JASON
 3
     CUMMINGS, in his official capacity as
 4   Snohomish County Prosecuting Attorney,
     ERIKA GEORGE, in her official capacity as
 5   Stevens County Prosecuting Attorney, JON
     TUNHEIM, in his official capacity as
 6   Thurston County Prosecuting Attorney, DAN
     BIGELOW, in his official         capacity as
 7
     Wahkiakum County Prosecuting Attorney,
 8   GABE ACOSTA, in his official capacity as
     Walla Walla County Prosecuting Attorney,
 9   ERIC RICHEY, in his official capacity as
     Whatcom County Prosecuting Attorney, and
10   DENIS TRACY, in his official capacity as
11   Whitman County Prosecuting Attorney,

12                        Defendants.

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28   DECLARATION OF M. MARTENS IN SUPPORT OF
     PLAINTIFF’S MOT. FOR PRELIM. INJUNCTION - 3 -
     (No. 3:25-cv-05461-DGE)
            Case 3:25-cv-05461-DGE            Document 66       Filed 06/05/25      Page 4 of 5




 1          I, Matthew T. Martens, hereby declare as follows:

 2          1.      I am a partner at Wilmer Cutler Pickering Hale and Dorr LLP and counsel to

 3   Plaintiffs in the above-captioned matter.

 4          2.      I am over the age of eighteen and competent to make this declaration. I make this

 5   declaration based on personal knowledge about which I am competent to testify.

 6          3.      Attached as Exhibit 1 is a true and correct copy of the Senate Bill Report for SB

 7   5375 (As Passed Senate, February 28, 2025).

 8          4.      Attached as Exhibit 2 is a true and correct copy of the URL to access a video
 9   recording of the March 14, 2025 House Early Learning & Human Services Committee Hearing
10   where Senator Noel Frame testified in support of SB 5375.
11          5.      Attached as Exhibit 3 is a true and correct copy of the June 2, 2025 NonStop Local
12   Tri-Cities/Yakima article Washington clergy challenge new child abuse reporting law by Steven
13   Hogencamp.
14          6.      Attached as Exhibit 4 is a true and correct copy of the Charter for the Protection of
15   Children and Young People by the United States Conference of Catholic Bishops.
16          7.      Attached as Exhibit 5 is a true and correct excerpted copy of the 2023 Child
17   Maltreatment Report, prepared by the U.S. Department of Health & Human Services
18   Administration for Children and Families Children’s Bureau.
19          8.      Attached as Exhibit 6 is a true and correct copy of the May 2, 2025 Washington
20   State Standard article New law requires clergy in Washington to report child abuse by Jerry
21   Cornfield.
22          9.      Attached as Exhibit 7 is a true and correct copy of the URL to access a video
23   recording of the January 28, 2025 Senate Human Services Committee Hearing where Senator Noel
24   Frame testified in support of SB 5375.
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28    DECLARATION OF M. MARTENS IN SUPPORT OF
     PLAINTIFF’S MOT. FOR PRELIM. INJUNCTION - 4 -
     (No. 3:25-cv-05461-DGE)
           Case 3:25-cv-05461-DGE           Document 66          Filed 06/05/25    Page 5 of 5




 1                                           ⁎       ⁎       ⁎

 2         I declare under penalty of perjury that the foregoing is true and correct.

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           _____________________________
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           Matthew T. Martens
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           EXECUTED this 5th day of June, 2025, at Washington, DC.
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28    DECLARATION OF M. MARTENS IN SUPPORT OF
     PLAINTIFF’S MOT. FOR PRELIM. INJUNCTION - 5 -
     (No. 3:25-cv-05461-DGE)
